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                                                                    BY jle        DEPUTY CLERK


  7
  8                             UNITED STATES BANKRUPTCY COURT

  9                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
       In re:
 10                                                        Case No. 8:21-bk-11710-ES

 11    JAMIE LYNN GALLIAN,                                 Chapter 7 Proceeding

 12                                                        ORDER DENYING DEBTOR’S
                                                           AMENDED MOTION TO AVOID LIEN
 13               Debtor.
                                                           [DOCKET NO. 147]
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 16             The Court having reviewed the Debtor’s Amended Motion to Avoid Lien Under 11 U.S.C.
 17   § 522(f) [Docket No. 147] (“Motion”), the Huntington Beach Gables Homeowners Association’s
 18   Opposition and Request for Hearing [Docket No. 178], and the Declaration of Brandon J. Iskander
 19   Regarding Debtor’s Failure to Set Hearing on her Amended Motion to Avoid Lien Under 11 U.S.C.
 20   § 522(f) [Docket No. 205], and good cause appearing
 21             IT IS ORDERED that the Motion is denied.
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 24 Date: August 30, 2022
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